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March 16, 2018                                                                                              Lori A. Martin
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The Honorable Katherine B. Forrest
United States District Court
Southern District of New York
500 Pearl Street
New York, NY 10007

Re: Sacerdote, et al. v. New York University, Case No. 16-cv-06284-KBF (S.D.N.Y.)
          LETTER FROM NON-PARTY TIAA REGARDING THE POTENTIAL
          UNSEALING OF SUMMARY JUDGMENT FILINGS

To the Honorable Katherine B. Forrest:

Non-party Teachers Insurance and Annuity Association of America ("TIAA'') submits this letter
in response to the Court's March 13, 2018 Order [ECF No. 195] (the "Order"). We understand
that the parties intend to submit separately a joint status report regarding their efforts to share
unsealed information with TIAA in compliance with the Order.

                                                            ****
The Court's Order directed the parties to meet and confer with TIAA about the potential
unsealing of Confidential TIAA documents and testimony included by the parties in their
summary judgment briefing and supporting papers. The Court also "suggest[ed] that the
plaintiffs and defendant show TIAA a copy of the materials that does not redact TIAA' s
information", so that TIAA could review the materials and assess whether they should continue
to be sealed as confidential and proprietary business information.

On March 13, TIAA conferred with Plaintiffs regarding references to TIAA's documents and
testimony designated as Confidential and which are cited in Plaintiffs' Memorandum in
Opposition to Defendant's Motion for Summary Judgment and Response to Defendant's Rule
56.1 Statement and Counterstatement of Undisputed Material Facts [ECF Nos. 162 & 163], as
well as Plaintiffs' expert reports. 1 Defendant and Vanguard joined this call. Plaintiffs provided
TIAA with these materials without redaction of the Confidential TIAA information. TIAA has
reviewed the materials and does not oppose Columbia's Motion to Intervene and to Unseal
Documents [ECF No. 178] with respect to the unredacted Confidential TIAA information. The

       Expert Report of Gerald W. Buetow, dated December 22, 2017; Rebuttal Expert Report
of Gerald W. Buetow, dated January 18, 2018; Corrected Expert Report of Michael J. Dicenso,
dated January 18, 2018; Corrected Expert Report of Michael Geist, dated January 22, 2018; and
Rebuttal Expert Report of Michael Geist, dated January 22, 2018.


            Wilmer Cutler Pickering Hale and Dorr   LLP,   1875 Pennsylvania Avenue NW, Washington, DC 20006
Beijing    Berlin   Boston   Brussels   Denver      Frankfurt    London   Los Angeles   New York     Palo Alto      Washington
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specific portions of unredacted materials provided to TIAA by Plaintiffs are detailed in
Appendix A. Some of the materials include account statements and other documents regarding
the Named Plaintiffs, and we understand that Plaintiffs will separately inform the Court that such
materials should remain under seal or redacted in part, as set forth in their response to
Columbia's motion [ECF No. 187].

On March 13, TIAA also conferred with Defendant about references to TIAA's documents and
testimony designated as Confidential and which are cited in Defendant's Memorandum of Law
in Support oflts Motion for Summary Judgment and Local Rule 56.1 Statement of Undisputed
Material Facts [ECF Nos. 132 & 133]. Defendant provided TIAA with these materials without
redaction of the Confidential TIAA information. TIAA has reviewed the materials and does not
oppose Columbia' s Motion to Intervene and to Unseal Documents [ECF No. 178] with respect to
the unredacted Confidential TIAA information. The specific portions of unredacted materials
provided to TIAA by Defendant are detailed in Appendix B. Defendant has not provided TIAA
with expert reports, but confirmed that the documents and testimony designated by TIAA as
Confidential and cited in those materials appear in Appendix B.

Respectfully submitted,



Lori A. Martin

cc: Stephen Hoeplinger (by e-mail only)
    Andrew D. Schlichter (by e-mail only)
    Jerome J. Schlichter (by e-mail only)
    Ethan D. Hatch (by e-mail only)
    James Redd, IV (by e-mail only)
    Mark Muedeking (by e-mail only)
    Ian C. Taylor (by e-mail only)
    Juliya Ben-Zev (by e-mail only)
    Brian Kaplan (by e-mail only)
    Evan D. Parness (by e-mail only)
    David Dyson (by e-mail only)
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                                     APPENDIX A

  I.    Exhibits to Plaintiffs' Memorandum in Opposition to Defendant's Motion for
        Summary Judgment and Response to Defendant's Rule 56.1 Statement and
        Counterstatement of Undisputed Material Facts




              9             TIAA- NYU- 00056900

              10            TIAA- NYU- 00054957

              12            TIAA- NYU- 00057399

             34             Excerpts of the Deposition Transcript of Douglas Chittenden

             35             TIAA- NYU- 00032598

             54             TIAA- NYU- 00083468

             64             Excerpts of the Deposition Transcript of Peter Hueber

             92             TIAA- NYU- 00081731

             101            TIAA- NYU- 00014751

             118            TIAA- NYU- 00021732

 II.    Citations in Plaintiffs' Memorandum in Opposition to Defendant's Motion for
        Summary Judgment




         P. 3, Line 3       Ex. 9 TIAA- NYU- 00056900

                            Ex. 34 Excerpts of the Deposition Transcript of Douglas
       P. 24, Lines 2-5
                            Chittenden at 109:4-112:9
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III.      Citations in Plaintiffs' Response to Defendant's Rule 56.1 Statement and
          Counterstatement of Undisputed Material Facts




        P. 5,, 3, Bullet 2    Ex. 9 TIAA- NYU- 00056900

        P. 8,, 3, Bullet 2    Ex. 34 Excerpts of the Deposition Transcript of Douglas
                              Chittenden at 149:23-150: 14

           P. 14,, 10         Ex. 34 Excerpts of the Deposition Transcript of Douglas
                              Chittenden at 167:13-25

       P. 28, FN 131, 132     Def. Ex. 6 Excerpts of the Deposition Transcript of Douglas
                              Chittenden at 90: 15-22, 181 :20-24

       P. 31, , 31, FN 146    Def. Ex. 173 TIAA- NYU- 00015338-45

                              Def. Ex. 73 TIAA_NYU_00016635-44; TIAA_NYU_00012750-
                              59; TIAA_NYU_00012760-69; TIAA_NYU_00012770-81;
                              TIAA_NYU_ 00012782-93; TIAA_NYU_ 00012794-805;
                              TIAA_NYU_ 00012806-21; TIAA_ NYU_ 00016719-34;
                              TIAA- NYU- 00016749-62

           P. 38,, 46         Def. Ex. 76 TIAA_NYU_00016659-68; TIAA_NYU_00013454-
                              63; TIAA_NYU_00013464-73; TIAA_NYU_00013474-85;
                              TIAA_NYU_00013486-97; TIAA_NYU_00013498-509;
                              TIAA_NYU_ 00013510-27; TIAA_NYU_ 00016845-58;
                              TIAA- NYU- 00016873-86

           P. 39,, 48         Def. Ex. 82 TIAA- NYU- 00016683-88

         P. 40-41,, 51        Def. Ex. 84 TIAA_NYU_00013174-85; TIAA_NYU_00013186-
                              97; TIAA_NYU_00013198-209; TIAA_NYU_00013016-31;
                              TIAA_NYU_00016763-78; TIAA_NYU_00016793

         P. 45-46,, 61        Ex. 54 TIAA- NYU- 00083468

  P. 61-62,, 77, FN 322       Def. Ex. 96 TIAA- NYU- 00031578-997
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      P. 67, FN 349         Def. Ex. 6 Excerpts of the Deposition Transcript of Douglas
                            Chittenden at 27 :6-15

      P. 68-70, 185         Def. Ex. 6 Excerpts of the Deposition Transcript of Douglas
                            Chittenden at 233:6-20; Def. Ex. 100 Excerpts of the Deposition
                            Transcript of Peter Hueber at 24:5-25:16, 31 :3-11

      P. 81, FN 414         Def. Ex. 114 TIAA- NYU- 0000313 9-141

       P. 82, 1104          Def. Ex. 100 Excerpts of the Deposition Transcript of Peter
                            Hueber at 47:3-25; Def. Ex. 96 TIAA_NYU_00031578-997

       P.83,1105            Def. Ex. 100 Excerpts of the Deposition Transcript of Peter
                            Hueber at 47:3-25

       P. 84, 1106          Def. Ex. 96 TIAA- NYU- 00031578-997

      P. 85-86, 1 107       Def. Ex. 96 TIAA- NYU- 00031578-997

       P. 86, 1108          Def. Ex. 96 TIAA- NYU- 00031578-997

       P. 87, 1109          Def. Ex. 96 TIAA- NYU- 00031578-997

      P. 88-89, 1110        Def. Ex. 96 TIAA- NYU- 00031578-997

      P. 95, FN 488         Def. Ex. 10 TIAA_NYU_00004772-73; Def. Ex. 118
                            TIAA- NYU- 00004819-21

       P. 101, 1123         Def. Ex. 96 TIAA- NYU- 00031578-997

       P. 122, 1140         Ex. 34 Excerpts of the Deposition Transcript of Douglas
                            Chittenden at 109:4-112:9

       P. 128, 1 149        Ex. 92 TIAA- NYU- 00081731

       P. 137, 1160         Ex. 34 Excerpts of the Deposition Transcript of Douglas
                            Chittenden at 109:4-112:9

       P. 145, 1185         Ex. 34 Excerpts of the Deposition Transcript of Douglas
                            Chittenden at 109:4-122:12
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         P. 146, 1188        Ex. 101 TIAA- NYU- 00014751

         P. 146, 1189        Ex. 34 Excerpts of the Deposition Transcript of Douglas
                             Chittenden at 122:5-12

  P. 148, 1191, Bullet 4     Ex. 9 TIAA- NYU- 00056900

         P. 159, 1229        Ex. 34 Excerpts of the Deposition Transcript of Douglas
                             Chittenden at 109:4-112:9

         P.159, 1231         Ex. 118 TIAA- NYU- 00021732

         P. 166, 1256        Ex. 34 Excerpts of the Deposition Transcript of Douglas
                             Chittenden at 149:23-150: 14

         P. 166, 1257        Ex. 34 Excerpts of the Deposition Transcript of Douglas
                             Chittenden at 109:4-112:9

IV.      Citations in Plaintiffs' Expert Reports




      Buetow Report P. 16    TIAA- NYU- 00057405

      Buetow Report P. 19    Deposition Transcript of Douglas Chittenden at 149:23-150: 14

 Buetow Rebuttal Report      TIAA- NYU- 00032598
         P.2

 Buetow Rebuttal Report      Deposition Transcript of Douglas Chittenden at 149:23-150: 14
         P. 8

       Dicenso Corrected     Deposition Transcript of Douglas Chittenden at 81-89
          Report P. 5

       Dicenso Corrected     NIA
          Report P. 8
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    Dicenso Corrected       NIA
    Report P. 8, FN 2

  Geist Corrected Report    TIAA_NYU_00057405; TIAA_NYU_00051127
  P. 25, 1112, FN 53, 54

   Geist Rebuttal Report    TIAA_NYU _ 00016896; TIAA_ NYU_ 00000213;
         P. 8, 1 15         TIAA_NYU_OOOl 7438; TIAA_NYU_00016191

   Geist Rebuttal Report    TIAA- NYU- 000325998
         P. 20,148

   Geist Rebuttal Report    TIAA- NYU- 00014751
         P. 20,149

   Geist Rebuttal Report    TIAA_NYU _ 00016896; TIAA_NYU_ 00000213;
         P. 21,, 54         TIAA_NYU_ 00017 43 8; TIAA_ NYU_ 00016191

  Geist Rebuttal Report     Table based upon TIAA_NYU_00016896;
          P.22              TIAA_ NYU_ 00000213; TIAA_NYU_ 00017 43 8;
                            TIAA- NYU- 00016191
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                                    APPENDIXB

  I.   Exhibits to Defendant's Memorandum of Law in Support of Its Motion for
       Summary Judgment and Local Rule 56.1 Statement of Undisputed Material Facts




             6              Excerpts of the Deposition Transcript of Douglas Chittenden

             10             TIAA- NYU- 00004 772-73

             11             TIAA- NYU- 00000122-25

            66              TIAA- NYU- 00013752-887

            67              TIAA- NYU- 00013878-983

                            TIAA_NYU_00016635-44;      TIAA_NYU_00012750-59;
                            TIAA_ NYU_ 00012760-69;    TIAA_ NYU _ 00012770-81;
            73              TIAA_ NYU_ 00012782-93;    TIAA_ NYU_ 00012794 -805;
                            TIAA_NYU_00012806-21;      TIAA_NYU_00016719-34;
                            TIAA- NYU- 00016749-62

                            TIAA_ NYU_ 00016659-68;    TIAA_ NYU_ 00013454-63;
                            TIAA_ NYU_ 00013464-73;    TIAA_ NYU_ 000134 74-85;
            76              TIAA_NYU_00013486-97;      TIAA_NYU_00013498-509;
                            TIAA_ NYU_ 00013510-27;    TIAA_ NYU_ 00016845-58;
                            TIAA- NYU- 00016873-86

            82              TIAA- NYU- 00016683-88

                            TIAA_NYU_00013174-85; TIAA_NYU_00013186-97;
            84              TIAA_NYU_ 00013198-209; TIAA_ NYU _ 00013016-31;
                            TIAA_NYU_00016763-78; TIAA_NYU_00016793

                            TIAA_NYU_0016645-50; TIAA_NYU_00013412-17;
            87              TIAA_NYU_00013418-23; TIAA_NYU_00013424-33;
                            TIAA NYU 00013434-43; TIAA NYU 00013444-53;
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                            TIAA_NYU_00013210-23; TIAA_NYU_00016807-20;
                            TIAA- NYU- 00016833-44

            96              TIAA- NYU- 00031578-997

            100             Excerpts of the Deposition Transcript of Peter Hueber

            110             TIAA- NYU- 00001612-15

            111             TIAA- NYU- 0000060-66

            112             TIAA- NYU- 00002345-47

            113             TIAA- NYU- 0000007 4-80

            114             TIAA- NYU- 00003139-141

            115             TIAA- NYU- 00000088-94

            116             TIAA- NYU- 00003985-87

            117             TIAA NYU 00000112-19

            118             TIAA- NYU- 00004819-21

            122             TIAA- NYU- 00000069-73

            132             Declaration Glenn Friedman

            143             TIAA- NYU- 00000126-33

            156             TIAA- NYU- 00016220-21

            157             TIAA- NYU- 00015750-51

            158             TIAA- NYU- 00000244-46

            159             TIAA- NYU- 00000902-04

            161             TIAA- NYU- 00000213-14
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            162             TIAA- NYU- 00000869-70

            163             TIAA- NYU- 00001578-79

            164             TIAA- NYU- 00002308-9

            165             TIAA- NYU- 00003096-7

            166             TIAA- NYU- 00003942-43

            167             TIAA- NYU- 00016191

            168             TIAA- NYU- 00015726-27

            169             TIAA- NYU- 00000056-59

            170             TIAA- NYU- 00000069-73

            171             TIAA- NYU- 00000083-87

            172             TIAA- NYU- 00000107-111

            173             TIAA- NYU- 00015338-45

 II.   Citations in Defendant's Memorandum of Law in Support of Its Motion for
       Summary Judgment




 P. 15, Lines 16-20         Ex. 132 Declaration of Glenn Friedman
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III.      Citations in Defendant's Local Rule 56.1 Statement of Undisputed Material Facts



          P. 11, FN 64        Ex. 6 Excerpts of the Deposition Transcript of Douglas
                              Chittenden 90: 15-90:22

          P.11,FN65           Ex. 6 Excerpts of the Deposition Transcript of Douglas
                              Chittenden 181 :20-24

        P. 13,131, FN 72      Ex.173TIAA- NYU- 00015338-45

  P. 29,177, FN 188, 189      Ex. 96 TIAA- NYU- 00031578- 997

       P. 32,185, FN 201      Ex. 6 Excerpts of the Deposition Transcript of Douglas
                              Chittenden 27:6-15

          P. 38, FN 234       Ex.114TIAA- NYU- 00003139-141

       P. 43-44, 11119-121    Ex. 132 Declaration of Glenn Friedman

        P. 60, 11160-162      Ex. 132 Dt:daratiun of Glt:rm Frit:dman



IV.       Citations in Defendant's Expert Reports



         Fischel Report      Declaration of Glenn Friedman

         Wagner Report       Excerpts of the Deposition Transcript of Douglas Chittenden;
                             Excerpts of the Deposition Transcript of Peter Hueber

          Turki Report       TIAA- NYU- 00084913-A

          Turki Report       TIAA- NYU- 00006587

          Turki Report       TIAA- NYU- 00007233
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       Turki Report         TIAA- NYU- 0000841 7

       Turki Report         TIAA- NYU- 00006587-590

       Turki Report         TIAA- NYU- 00007233-237

       Turki Report         TIAA- NYU- 00008417-421

       Turki Report         TIAA- NYU- 00009678-682

       Turki Report         TIAA- NYU- 00011096-099

       Turki Report         TIAA- NYU- 00006561-567

       Turki Report         TIAA- NYU- 00007288-294

       Turki Report         TIAA- NYU- 000084 71-4 77

       Turki Report         TIAA- NYU- 00009728-735

       Turki Report         TIAA- NYU- 00011145-152
